       Case 2:19-cv-05019-ODW-KS Document 19 Filed 08/12/19 Page 1 of 1 Page ID #:479
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
 KATHLEEN C. HIPPS (SBN 283718)
 kathleeen.hipps@gmlaw.com
 GREENSPOON MARDER LLP
 1875 Century Park East, Suite 1900
 Los Angeles, California 90067
 Telephone: 323.880.4523
 Facsimile: 954.771.9264
 ATTORNEY(S) FOR: Defedants Stephan Nourmand & The Sunset
 Landmark Investment LLC
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE NUMBER:
RELEVANT GROUP, LLC, et al.                                                   2:19-cv-05019
                                                              Plaintiff(s),
                                     v.

STEPHAN “SAEED” NOURMAND, et al.                                                             CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)


TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Stephan Nourmand & The Sunset Landmark Investment LLC
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                 CONNECTION / INTEREST
Stephan Nourmand                                                                     Defendant
The Sunset Landmark Investment LLC                                                   Defendant
Michael Nourmand                                                                     Defendant
Nourmand & Associates                                                                Defendant
Relevant Group, LLC                                                                  Plaintiff
1541 Wilcox Hotel LLC                                                                Plaintiff
6516 Tommie Hotel LLC                                                                Plaintiff
6421 Selma Wilcox Hotel LLC                                                          Plaintiff




         August 12, 2019                                     /s/ Kathleen C. Hipps
         Date                                              Signature
                                                           KATHLEEN C. HIPPS

                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Stephan Nourmand & The Sunset Landmark Investment LLC


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
                                                                                                                       American LegalNet, Inc.
                                                                                                                       www.FormsWorkFlow.com
